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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


BROKERARTE CAPITAL
PARTNERS, LLC,

                   Plaintiff,
                                             Case No. 23-CV-10066
      vs.
                                             HON. GEORGE CARAM STEEH
THE DETROIT INSTITUTE
OF ARTS,

              Defendant.
_____________________________/


                         ORDER PENDING HEARING

      Plaintiff Brokerarte Capital Partners, LLC filed a Verified Complaint

alleging that it purchased a Van Gogh painting entitled “Liseuse De

Romans” (“the Painting”) from Torrealba Holdings, Ltd. on May 3, 2017.

Verified Compl. at ¶ 7 and Bill of Sale. Plaintiff asserts that an unidentified

third-party immediately took possession of the Painting, but that plaintiff

never transferred title to or any interest in the Painting to the third-party.

Verified Compl. at ¶ 10. The Painting is part of defendant The Detroit

Institute of Art's ("DIA") "Van Gogh in America" exhibition. Id. at ¶ 11. This

exhibition is scheduled to end on January 22, 2023. At that time, plaintiff

believes that the Painting will be moved or transferred to a third-party. Id. at
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¶ 13. The matter is before the Court on plaintiff’s motion for temporary

restraining order and possession pending final judgment. ECF No. 2.

Based on the allegations in the Verified Complaint and on the Bill of Sale,

the Court finding that good cause has been shown. Now, therefore,

      IT IS HEREBY ORDERED that pursuant to Federal Rules of Civil

Procedure 64 and 65 and Michigan Court Rule 3.105(E), defendant The

Detroit Institute of Arts is hereby ordered to refrain from damaging,

destroying, concealing, disposing, moving, or using as to substantially

impair its value, the item described as follows: the 1888 painting created by

Vincent van Gogh entitled "Liseuse De Romans" a/k/a "The Novel Reader"

a/k/a "The Reading Lady" (referred to herein as "the Painting").

      IT IS HEREBY FURTHER ORDERED that the Court shall hear oral

argument on plaintiff’s motion for temporary restraining order and

possession pending final judgment on Thursday, January 19, 2023, at

10:00 a.m. in Courtroom 1080 of the Theodore Levin United States

Courthouse, Detroit, Michigan.

Dated: January 11, 2023
                                    s/George Caram Steeh
                                    GEORGE CARAM STEEH
                                    UNITED STATES DISTRICT JUDGE




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